          Case 3:08-cr-00046-LC                  Document 207           Filed 09/16/08        Page 1 of 6


FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                    Page 1 of 6
3:08cr46-008LAC - ERIC KONRAD NITSCH
                                      UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF FLORIDA
                                           PENSACOLA DIVISION

UNITED STATES OF AMERICA

-vs-                                                              Case # 3:08cr46-008LAC

ERIC KONRAD NITSCH
                                                                  USM # 06988-017

                                                                  Defendant’s Attorney:
                                                                  Barbara Sanders (Retained)
                                                                  80 Market Street
                                                                  Apalachicola, Florida 32329
___________________________________
                           JUDGMENT IN A CRIMINAL CASE
The defendant pled guilty to Counts One and Two of the Indictment on June 23, 2008.
Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such counts which involve
the following offenses:
       TITLE/SECTION                               NATURE OF                      DATE OFFENSE
          NUM BER                                   OFFENSE                        CONC LUDED         COUNT

21 U.S.C. §§ 846 and 841             Conspiracy to Distribute and Possess          May 20, 2008         One
(b)(1)(B)(vii)                       with Intent to Distribute 100 Kilograms or
                                     More of Marijuana

21 U.S.C. § 841(b)(1)(B)(vii)        Possess with Intent to Distribute 100          April 2, 2007       Two
                                     Kilograms or More of Marijuana

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.

                                                                  Date of Imposition of Sentence:
                                                                  September 9, 2008
                                                                  s /L.A. Collier
                                                                  LACEY A. COLLIER
                                                                  SENIOR UNITED STATES DISTRICT JUDGE

                                                                  September 16, 2008
          Case 3:08-cr-00046-LC                  Document 207       Filed 09/16/08   Page 2 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                           Page 2 of 6
3:08cr46-008LAC - ERIC KONRAD NITSCH
                                                   IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 24 months as to Counts One and Two, with Counts to run
concurrently one with the other.

          The defendant was not in possession of the firearms noted in this case.

         The defendant shall surrender to either the United States Marshal for this district or to the
institution designated by the Bureau of Prisons on January 5, 2009 by 12:00 noon.




                                                           RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                 __________________________________
                                                                       UNITED STATES MARSHAL


                                                               By:__________________________________
                                                                           Deputy U.S. Marshal
          Case 3:08-cr-00046-LC                  Document 207      Filed 09/16/08        Page 3 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                Page 3 of 6
3:08cr46-008LAC - ERIC KONRAD NITSCH
                                             SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term
of Four Years as to Counts One and Two, with Counts to run concurrently one with the
other.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

        The defendant shall not commit another federal, state, or local crime and shall not possess
a firearm, destructive device, or any other dangerous weapon.

        The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                             STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.       The defe nda nt shall not leave the judicial district without the permission of the court or probation
         officer;

2.       The defe nda nt shall repo rt to the prob ation officer and shall submit a truthful and complete written
         report within the first five days of each month;

3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
         of the probation officer;

4.       The defendant shall support his or her dependents and meet other family responsibilities;

5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
         schooling, training, or other acceptable reasons;

6.       The defendant shall notify the probation officer at least 10 days prior to any change in residence or
         em ploym ent;

7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
         distribute, or administer any controlled substance or an y paraphernalia related to any controlled
         substances, except as prescribed by a physician;

8.       The defendant shall not frequent places where controlled substances are illegally sold, used,
         distributed, or administered;

9.       The defendant shall not associate with any persons engaged in criminal activity and shall not
         ass ociate with an y person c onvicted o f a felony unless gran ted perm ission to do so by the probation
         officer;
          Case 3:08-cr-00046-LC                  Document 207       Filed 09/16/08          Page 4 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                   Page 4 of 6
3:08cr46-008LAC - ERIC KONRAD NITSCH

10.      The defendant shall permit a probation officer to visit him or her at any time at hom e or elsewhere and
         shall permit confiscation of any contraban d observe d in plain view of the proba tion officer;

11.      The defendant sh all notify the probation officer within 72 hours of being arrested or questioned by
         a law enforcem ent officer;

12.      The defendant shall not enter into any agreement to act as an informer or a special agent of a law
         enforcement agency without the permission of the court; and

13.      As directed by the probation officer, the defendant shall notify third parties of risks that may be
         occasioned by the defendant’s c rim inal rec ord or pe rsonal histo ry or characteristic s and shall perm it
         the probation officer to mak e such notifications and to confirm the defendant’s compliance with such
         notifica tion req uirem ent.

14.      If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
         defendant pay any such fine or restitution in accordance with th e Schedule of P aym ents s et forth in
         the C rim inal Mone tary Penalties she et of this judg m ent.

                     ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         The defendant shall also comply with the following additional conditions of supervised
         release:

         The defendant shall participate in a program of drug treatment which may include testing
         to determine if the defendant is using drugs.

         The defendant shall continue with his current mental health counseling and treatment
         program.
          Case 3:08-cr-00046-LC                  Document 207   Filed 09/16/08   Page 5 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                       Page 5 of 6
3:08cr46-008LAC - ERIC KONRAD NITSCH
       Upon a finding of a violation of probation or supervised release, I understand the Court may
(1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have been
provided a copy of them.




         Defendant                                                      Date




         U.S. Probation Officer/Designated Witness                      Date
          Case 3:08-cr-00046-LC                  Document 207        Filed 09/16/08    Page 6 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                             Page 6 of 6
3:08cr46-008LAC - ERIC KONRAD NITSCH
                                    CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

                                                           SUMMARY
           Special
     Monetary Assessment                                     Fine                     Restitution

               $200.00                                       $0                           $0




                                   SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $200.00 ($100.00 each count) is imposed and is to be
paid immediately.

No fine imposed.
No restitution imposed.
